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EXHIBIT |

 
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Case Information

 

16-2-15162-31 | National Collegiate Student Loan Trust 2004-2 vs Esther

Hoffman

Case Number Court

16-2-15162-31 Snohomish

File Date Case Type Case Status

06/08/2016 COL Collection Completed/Re-
Completed

Party

Plaintiff

National Collegiate Student Loan Trust 2004-2

Defendant
Hoffman, Esther

 

 

 

Disposition Events

08/25/2016 Judgment»

Judicial Officer
Brudvik, Jacalyn D

 

https://odysseyportal.courts.wa.gov/ODYPORTAL/Home/WorkspaceMode?p=0 , 1/4

 
8/20/2018 age 2:18-cv-01132-TSZ Document 1@dailsFiled 09/04/18 Page 3 of 54

Judgment
General Recovery

Monetary/Property Award
- Greditors: National Collegiate Student Loan Trust 2004-2

Debtors: Hoffman, Esther

Signed Date: 08/24/2016

Filed Date: 08/25/2016

Effective Date: 08/25/2016

Current Judgment Status:
Status: Active
Status Date: 08/25/2016

Monetary Award:
Fee: Principal, Amount: $8,161.00 , Interest: 12.00 %
Fee: Other Fees, Amount $833.66 , Interest: 12.00 %
Fee: Costs, Amount: $337.50 , Interest: 12.00 %
Total: $9,332.16

Satisfaction Details:
Date: 08/25/2016
Amount: $1,928.25

Comment: PARTIAL - PAYMENTS REC'D PRE-JUDGMENT

Comment

Camment ()

 

 

 

 

Events and Hearings

06/08/2016 Sumrnons

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06/08/2016 Complaint

06/08/2016 Case Information Cover Sheet

96/08/2046 Affidavit Declaration Certificate Confirmation of Service
06/08/2016 Notice

08/25/2016 Declaration of Mailing
| 08/28/2016 Cost Bil

08/25/2016 Affidavit in Support +

Comment
Re Judgment
08/25/2016 Notice v

Comment
Notice of Intent to Apply for Order of Default

08/25/2016 Motion for Default

08/25/2016 Default Judgment v
Judicial
Officer

Brudvik,
Jacalyn D

08/25/2016 Ex Parte Action With Order
08/25/2016 Case Resolution Default Judgment

11/29/2016 Writ of Garnishment

 

01/20/2017 Notice of Appearance
01/27/2017 Answer to Writ
02/10/2017 Writ of Garnishment

| 03/06/2017 Anowerto Writ
03/21/2017 Writ of Garnishment
05/01/2017 Answer to Writ

05/23/2017 Writ of Gamishment

 

 

07/13/2017 Answer to Writ

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08/01/2017 Writ of Garnishment

09/18/2017 Answer to Writ
09/29/2017 Writ of Garnishment

41/08/2017 Answer to Writ

 

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EXHIBIT 2

 
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IN THE SUPERIOR COURT OF STATE OF WASHINGTON

FOR SNOHOMISH COUNTY
NATIONAL COLLEGIATE STUDENT No. 1 6 2 1 51 6 2 3 1
LOAN TRUST 2004-2, A DELAWARE
STATUTORY TRUST(S) COMPLAINT FOR MONIES DUE
Plaintiff,
vs.

ESTHER HOFFMAN

Defendant. |

 

The plaintiff alleges as follow:

1. The plaintiff NATIONAL COLLEGIATE STUDENT LOAN TRUST 2004-2, A
DELAWARE STATUTORY TRUST(S) is duly authorized to bring this action in the State
of Washington. | |

2. The defendant is believed to be a married individual and as such incurred the
below-referenced separate and community obligation.

3. The defendant is a resident of Snohomish County, Washington.

4. The defendant entered into a loan agreement with the plaintiff or the plaintiffs
assignor,

5.. Atall times relevant to this action, the plaintiff had in effect a loan agreement on
which the defendant was and continues to be the primary obligor on that loan.

///

i. i 2200 6th Avenue, Suite 790, Seattle, WA 98121

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I n fe PATENAUDE & FELIX, A.P.C.
wf
Wt (3 Tel: (206) 441-4065 Toll Free: (800) 832-7675

COMPLAINT FOR MONIES DUE. P11 A
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WA_85 Complaint Me

 

 
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6. As aresult of the terms of the agreement, the defendant is indebted to the plaintiff
on said loan in the amount of $8,994.66. |

7. Although demand has repeatedly been made upon the defendant for the unpaid
balance of $8,994.66 on said loan, the defendant is now in default under the terms and
conditions of the agreement.

8. The plaintiff's attorneys are debt collectors. This is an attempt to collect a debt and
any information obtained will be used for that purpose.

WHEREFORE, the plaintiff prays for judgment against the defendant as follows:

1. For the principal sum of $8,994.60.

2. Its costs and disbursements incurred in this action.

3. For Post Judgment interest to run at the rate of 12% per annum from the date of
judgment.

4. Such other further and equitable relief as the Court finds just and proper.

DATED: December 13, 2013

PATENAUDE & FELIX, A.P.C.

UE

MATTHEW CHEUNG, WSBA #43067
Attorney for Plaintiff

2200 6th Avenue, Suite 790

Seattle, WA 98121

Tel: (206) 441-4065

 

COMPLAINT FOR MONIES DUE PATENAUDE & FELIX, A-P.C.

P&F FILE# 13-33591 2200 6th Avenue, Suite 790, Seattle, WA 98121
WA_85 Complaint Tel: (206) 441-4065 Toll Free: (800) 832-7675

 

 
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EXHIBIT 3

 
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STATE OF WASHIN
National Coltegiate Student Loan Trust 2004-2 A
Delaware Statutory Trust(s)

SUPERIOR COURT, IN AND FOR Tr bMtviee, SNOHOMISH

Cause #:

Plaintiff / Petitioner, 1 6 9 1 54 6 2 3 1

vs. ‘ Declaration of Service of:

ESTHER HOFFMAN ¢7 at.

Defendant / Respondent

Hearing Date:

Declaration:

The undersigned hereby declares: That s(he) is now and at all times herein mentioned, a citizen of the United
States and a resident of the State of Washington, over the age of eighteen, not an officer of a plaintiff
corporation, nota party to nor interested in the above entitled action, and competent to be a witness therein.

On the date and time of; 12/28/13 4:05 PM
at the address oft 8808 EMERSON PL
EVERETT WA 982081946

within the County of SNOHOMISH
State of WASHINGTON, the declarant duly served the above-described documents upon:

ESTHER HOFFMAN
by then and there personally delivering 2 true and correct copy(ies) thereof, by then presenting to and leaving
the same with. PAT HOFFMAN

CO-RESIDENT/MOTHER

WHITE FEMALE 51-65 YRS. BROWN HAIR 5FT 4IN - SFT 81N 161-200 LBS
A person of suitable age and discretion residing at the defendant's/respondent's usual place of abode listed
above,

No information was provided that indicates that the subjects served are members of the U.S, military.

| hereby declare under penalty of perjury under the laws of the State of Washington that the foregoing is true

 

- and correct,
Dated: 2013-12-29 Lynnwood WA 98036
by Oe Service Fee Total: $67.50
MARCO'® RUISLA SR 2011-26

Specialized Attorney Services *
ORIGINAL 13-3359]

206) 906-9694 Patenaude & Felix, APC
. PROOF OF SERVICE 4727 44th SW Ave, #103

Seattle, WA 98116
(206) 906-9694

 
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EXHIBIT 4

 
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b> P84)

NATIONAL COLLEGIATE STUDENT
LOAN TRUST 2004-2

A Delaware Statutory Trust(s) .)
. )
)
Plaintiff ) Docket #
) ;
v. )
)-
_ ESTHER HOFFMAN . )
)
. Defendant(s) ) .
AF FIDAVIT AND VERIFICATION OF ACCOUNT
STATE OF GEORGIA

COUNTY OF GWINNETT )

BEFORE ME, the undersigned authority, personally appeared Affiant Dudley Turner ,
who being first duly sworn, deposes and states:

1. I am employed by Transworld Systems Inc. (hereinafter TSD, the designated
Custodian of Records for Plaintiff pertaining to the Defendant’s education loan(s) forming the
subject matter of the above-captioned Complaint. I am duly authorized by Plaintiff to make the
representations contained in this Affidavit and I am over the age of 18 and competent to testify to
the matters stated in this Affidavit.

2. I am competent and authorized to testify relating to this action through personal
knowledge of the business records, including the electronic data, sent to TSI that detail the

education loan records. I also have personal knowledge of the record management practices and

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procedures of Plaintiff and the practises and procedures Plaintiff requires of its loan servicers
and other agents. |

3. This lawsuit arose out of an unpaid loan or loans owed by defendant ESTHER
HOFFMAN to Plaintiff. Specifically Defendant entered into an education loan agreement at |
Deféndant’s special instance and request. A loan was extended for Defendant to use pursuant to
the terms of the loan agreements. Defendant has failed, refused, and/or neglected to pay the
balance or balances pursuant to the agreed repayment schedule or schedules.

4, Education loan account records are compiled and recorded as part of Plaintiff's
regularly conducted business activity at or near the time of the event and from information
transmitted from a person with knowledge of said event, by or from information transmitted by a
person with knowledge of the accounts or events described within the business record. Such
records are kept, maintained, and relied upon in the course of ordinary and regularly conducted
' business activity. |

5. Tam familiar with the education loan records within my possession as custodian
of records related to this matter. I have been authorized by Plaintiff to make this certification on
behalf of Plaintiff for this-case. |

6. I have reviewed the education loan records as business records described in this
affidavit regarding account number xxxxx9189/001-001000. No payment has been made since
06/03/2015. After all payments, credits and offsets have been applied, defendant ESTHER
HOFFMAN owes the principal sum of $7,566.41, together with accrued interest in the amount of
$0.00, totaling the sum of $7,566.41 as of 8/3/201 5. Attached hereto and incorporated as Exhibit
“A” is a true copy of the underlying Credit Agreement/Promissory Note. In the event the

Defendant(s) faxed the executed Credit Agreement/Promissory Note, per its terms they agreed

 
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their facsimile/electronic signature is deemed to be an original. Under applicable federal and

state law, all copies of signatures executed via facsimile or electronic email are considered to be

legal, binding agreement.

7. Based on records maintained by Plaintiff, the Defendant is not a minor or
incompetent. A reasonable inquiry has been made to determine if the Defendant is in the
military service of the United States of America,-and to the best of my knowledge, Defendant is
not in such military services and is therefore not entitled to the rights and privileges provided
ander the Soldiers and Sailors Civil Relief Act of 1940, as amended. |

8, I declare under the penalty of perjury under the laws of the forum state that the
foregoing is true and correct to the best of my knowledge, information and belief.

FURTHER AFFIANT SAYETH NAUGHT.

>‘ S_——_

 

 

AEFIANT
Print Name: Dudley Turner
Title: . Lega! Case Manager

 

SWORN AND SUBSCRIBED to before methis S _ day ot Mecqust. 20 £6

NOTARY PUBLIC
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L. * Creditworth thy Suudent *_ Loan RequestiCredit Agraement ~ Signature Page

NON-NEGOTIABLE CREDIT AGREEMENT ~ THIS 15 A CONSUMER CREDIT TRANSACTION

 

COAN PROGRAM INFORMATION
Eduestion Maximizer Undergraduate Loan Academic Period: 0872004-D5/2005

Lender: Bank of Amerioa, National Associetion School SMITH COLLEGE
Loan Amount Requested: $6000.00 Repayment Option: Osfarred Principal and Interest
Deferral Period Margin: 4.85. Repayment Period Margin: 4.68 Loan Origination Fee Percentage: 9.60

 

 

STUDENT PORROWER INFORMATION (Must be wlinas! 18 yasreclage)
Borrower Name: a Hofman Home Addrese: 8205 Emerson Pi Everette, WA 98208
Social Securty #: tyeiia, Date ol Birth: ME 983 Home Telephone: 5

Curran Pashien: Other Sat wt? Years Thare:4Xeues,
Yours at Pram Employmard: wey 4 Gnitle Civilo 4 yrs > Cvtna st Cot ian SunmMaed

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Garsrnercal Code, and ery obligations \rvlr tla Cred Agreement wil wat be subject toy bam pny tewns fer of my obligations will bo aubjeut to, Article 9 of the Uniform

FOR ALABAMA RESIDENTS: CAUTION ~ IT 15 IMPORTANT THAT YOU THOROUGHLY READ THE CONTRACT BEFORE YOU

WOR WISCONSIN RESIDENTS - NOTICE TO CUSTOMER:
(@) DONOT SON 73 THIS caer AGREEMENT BEFORE YOU READ THE WRITING ON THE FOLLOWING FAGES, EVEN IF
‘Q) DONOT RGN TE THIS CREDIT AGREEMENT IF IT CONTAINS ANY BLANK SPACES,
{¢) YOU ARE ENTITLED TO AN EXACT COPY OF ANY CREDIT AGREEMENT YOU SIGN.
(a) YOU HAVE THE RIGHT AT ANY TIME TO PAY IN ADVANCE THE UNPAID BALANCE UNDER THIS CREDITAGREEMENT
AND YOU MAY BE ENTITLED TO A PARTIAL REVUND OF THE FINANCE CHARGE,

 

 

 

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In this Credit Agreement, the words "’, “me”, “my*, and “mine” mean the person who
signed this Credit Agreement as Borrower. The words “you”, “your’, “yours”, and -
“Lender” mean Bank of America, National Association, its successors and assigns,
and any other holder of this Credit Agreement. “School” means the school named at
the top of the first page of this Credit Agreement
A. PROMISE TO PAY: | promise to pay to you the Loan Amount Requested shown
on the first page of this Credit Agreement, to the extentit Is advanced to me or pald on
my behalf, and any Loan Origination Fee added to my loan (see Paragraph F)
(together, the “Principal Sum’), Interest on such Principal Sum, interest on any unpald
Interest added to the Principal Sum and late fees (see Paragraph E,7).
B. IMPORTANT ~ READ THIS CAREFULLY:
{, When you receive my signed Credit Agreement, you are not agreeing to lend me
money. If you decide to make a loan to me, you will electronically transfer the loan
funds to the School for me, mail a [oan check to the Schoo for me, or mail a loan
check directly to me. You have the right-to not make a loan or to lend an amount less
than the Loan Amount Requested, | agree to accept an amount less than the Loan
Amount Requested and fo repay that portion of the Loan Amount Requested that you
actually lend to me. You have the right to disburse my loan through an agent. At your
option, you may also make any loan check co-payable to me and the School.
2, HOW 1 AGREE TO THE TERMS OF THIS LOAN. By signing this Credit
Agreement, and submitting it to the Lender, | am requesting that you make this loan to
me In an amount equal to the Loan Amount Requested plus any Loan Origination Fee
described in Paragraph F of this-Credit Agreement. if you approve this request and
agree to make this loan, you wili notify me in writing and provide me with a Disclosure
Statement, as required by law, at the time the loan proceeds are disbursed. The
Disclosure Statement is incorporated herein by reference and made a part hereof.
The Disclosure Statement will tell me the amount of the loan which you have
approved, the amount of the Loan Origination Fee, and other important information. |
will lat you know that | agree to the terms of the loan as set forth in this Credit
Agreement and in the Disclosure Statement by doing either of the following:
(a) endorsing the check that disburses the loan proceeds; or (b)using or allowing the
loan proceeds fo be used on my behalf without objection. Upon receipt of the
Disclosure Statement, | will review the Disclosure Statement and notify you in writing if
{have any questions. {ff am not satisfied with the terms of my loan as disclosed in the
. Disclosure Statement, | may cancel my loan. To cancel my toan, ! will give you a
written cancellation notice within ten (10) days after | received the Disclosure
Statement. If loan proceeds have been disbursed, | agree that | will immediately
retum the loan proceeds to you, will not endorse any check which disburses the loan
proceeds and will instruct the School fo return any loan proceeds to you. If | give
notice of cancellation but do not comply with the requirements of this Paragraph B.2,
thls Credit Agreement will not be canceled and I will be in default of this Credit
Agreement, (See Paragraph I.)
C, DEFINITIONS:
1, “Disbursement Date” means the date or dates on which you lend money to me In
consideratlon for my Credit Agreement and will be the date(s) shown on any loan
check you prepare or the date(s) you Initlate any electronic funds transfer.
2, The "Deferment Period" will begin on the Disbursement Date and end on the
Deferment End Date.

4. “Deferment End Date” means the date specifi ied below for the applicable loan
program (the applicable loan program Is stated on the first page of this Credit
Agreement).

(a) Undergraduate Alternative Loan Program: If| have elected the “immediate
Repayment’ option (the applicable repayment option Is stated on the first page of this
Credit Agreement), there Is no Deferment Period, and my first payment will be 30-60
days after the disbursement of my loan. If] have elected the “interest Only"
repayment option (the applicable repayment option Is stated on the first page of this
Credit Agreement), then Interest payments will begin 30-60 days after the
disbursement of my loan, the "Deferment End Date” will be the date the Student
graduates or ceases to be enrolled at least half-time in the Schoo! (or another schoo!
participating In this loan program), and principal and Interest payments will begin 30-60
days after that date. In any event, if| have elected the “Interest Only" repayment
option, the Deferment End Date will be no more than 5 years after the Disbursement
Date. If | have elected the “Full Deferral” repayment option (the applicable repayment
option Is stated on the first page of this Credit Agreement), then the "Deferment End
Date” will be 180 days after the Student graduates or ceases fo be enrolled at feast
half-time in the School (or another schoot participating In this Loan Program). In any
event, If | have elected the “Full Deferral’ repayment option, the Deferment End Data
will be no more than 5% years after the Disbursement Date.

(b) Graduate Professional Education Loan Program: 180 days after the Student
graduates or ceases for any other reason to be enrolled at least half-time in the School
(or another school participating in this Loan Program), but no more than 4% years after
the Disbursement Date: provided, however, that if the Student begins a medical
residency or internship during the Deferment Period, then the Deferment Period will
end 180 days after the day the residency or Intemship ends, but no more than 8%
years after the Disbursement Date.

(c) Health Professions Education Loan Program: 270 days after the Student
graduates or ceases for any other reason to be enrolled at least half-time In the Schoo]
(or another school participating In this Loan Program), but no more than 6 % years
after the Disbursement Date; provided, however, that if the Student begins a medica!

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residency or intemship during the Deferment Period, then the Deferment Period will
end 270 days after the day the residency or intemship ends, but no more than 10 %
years after the Disbursement Date.

(d) Residency Loan Program: 270 days after the Disbursement Date.

4, The “Repayment Period” begins the day after the Deferment Period ends. If there is
no Deferment Period for my loan, the Repayment Period will begin when my loan is
fully disbursed. The Repayment Period is 20 years unless monthly payments equal fo
the minimum monthly payment amount (See Paragraph £.4) will repay all amounts
owed in less than 20 years, In which case the Repayment Period will be the number of
months necessary fo pay in full the amount | owe at the minimum payment.

D. INTEREST:

1, Accrual ~ Beginning on the Disbursement Date, interest will be calculated at the
Variable Rate (Paragraph D.2) and charged on the Principal Sum, and on any unpaid
interest later added to the Principal Sum according to Paragraph D.3. During the
Repayment Period, interest will be calculated at the Variable Rate and charged on the
outstanding balance of this Credit Agreement until all amounts are pald in full. Interest
will be calculated on a dally simple Interest basis. The dally interest rate will be equal
to the annual interest rate in effect on thal day, divided by the number of days in that
calendar year.

2, Variable Rate ~ The “Variable Rate” is equal to the Current Index plus or minus a
Margin, The Margins for both the Deferment Period and the Repayment Period are
shown on the first page of this Credit Agreement, In no event will the Variable Rate
exceed the maximum interest rate allowed by the laws of the State of Califomta.. The
Variable Rate will change quarterly on the first day of each January, April, July and
October (the "Change Date(s)") if the Gurrent index changes. The "Current Iridex” for
any calendar quarter beginning on a Change Date (or for any shorter period beginning
on the Disbursement Date and ending on the last day of a calendar quarter) is based
on the one-month London Interbank Offered Rate ("LIBOR’) as published In the
“Money Rates" section of The Wall Street Journal. The index for each calendar quarter
(or for any shorter period beginning on a Disbursement Date and ending on the last
day of a calendar quarter) will equal the average of the LIBOR rates published on the

‘first business day of each of the three (3) immediately preceding calendar months,

rounded to the nearest one-hundredth percent (0.01%). If The Wail Street Journal is
not published or the Current index is not given on that date, then the Current index will
be determined by using the Immediately preceding published Current Index. If the
Current Index Is no longer available, you will choose a comparable index.

3. Capitalization ~if | have elected the “Full Deferral’ repayment option (the applicable
repayment option is stated on the first page of this Credit Agreement), | am not
obligated to make any payments uni the loan enters the Repayment Period. You will
add unpaid accrued interest fo the principal loan balance as of the last day of each
calendar quarter (the last day of December, March, June and September) during the
Deferment Period and at the end of my Deferment Period. Interest that is added to
principal Is called “Capitalized” Interest. Capitalized interest will be treated as principal. °
in addition, if! am in defautt and the loan has been sold to TERI (see Section L.11),
TERI may capltalize accrued and unpaid interest as of the date it purchases my loan, |
understand that you wiil add all accrued and unpaid interest to the princlpal balance of
my loan on the last day of the Deferment Pericd and at the end of any forbearance
period,

E. TERMS OF REPAYMENT:

1, Deferment Period — {f | have elected either the “Interest Only” repayment option or
the ‘Full Deferral’ repayment option (the applicable repayment option Is stated on the
first page of thls Credit Agreement), you will send me statements during the Deferment
Period (showing the total outstanding principal balance of my ioan and the Interest that
has accrued on my joan). Statements will be sent to the address shown on your
records, If! have elected the “Interest Only" repayment option, i agree to make
payments each month during the Deferment Period equal to the accrued Interest on
the outstanding balance of this Credit Agreement, if| have elected the “Full Deferral’
repayment option | may, but am not required to make payments during the Deferment
Period, You will add any interest that | do not pay during the Deferment Period to the
principal balance, as described in Paragraph D.3,

2. Repayment Period - During the Repayment Period, you will send me monthly
statements that show the amounts of minimum monthly payments and the payment
due dates, { will make consecutive monthly payments in amounts at least equal to
such minimum monthly payments by the applicable payment due dates until | have

paid all of the principal and interest and any other charges | may owe under this Credit
Agreement. If my loan is in pald-ahead status, | may, but will not be required to, make
monthly payments.

3. Repayment Terms ~ My monthly payment will be established based on the rules in
this Credit Agreement when my Repayment Period begins. My monthly payment
amount will be calculated as of the day the Repayment Period begins (‘Repayment
Date"), It will be recalculated (a) once each year prior to the anniversary of the
Repayment Date, (b) if the Variable Rate changes between anniversaries of the
Repayment Date to the extent that the amount of my monthly payment would not pay
in full the accrued monthly interest on my loan, (c) following any subsequent deferment
of forbearance period or (d) following any request by the Borrower to the servicer to
change the monthly payment due date (each of which events is a new “Repayment
Date’), As of any Repayment Date, my monthly payment will be recalculated. My new
monthly payment amount will be disclosed to me by the servicer, The new monthly
repayment amount will equal the amount necessary to pay in full, over the number of
months remaining in the Repayment Period, the amount | owe in equal monthly

 
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Installments of principal and interest at the Varlable Rate in effect at the time of the
calculation. | understand that this may result In a reduction or increase in my monthly
payment as calculated as of each Repayment Date. | understand that during the
Repayment Period (and, if! have elected the “Interest Only" repayment option, during
the period of Interest payments) the servicer may change the monthly payment due
date of future payments to a later date for the convenience of the servicer in
processing payments or In order fo coordinate the due dates of all of my loans
processed by the servicer.
4, Minimurn Repayment - Notwithstanding Paragraph E.3, | agree to pay at least $25
each month during the Repayment Period or the unpakd balance whichever Is less. |
understand that! may pay more than my monthly: payment at any time without penalty"
or charge. If my loan is In patd-ahead status, | may, but will not be required to, make *
monthly payments.
5. Amounts Owing at the End of the Repayment Period - Since interest accrues daily
upon the unpaid principal balance of my loan, if| make payments after my payment
dua dates, | may owe additional interest. fl have riot paid my late fees, | will also owe
additional amounts for those late fees. In such cases you will increase the amount of
my last monthly payment to the ammount necessary to repay my loan in full.
6. Payments - Payments will be applied first to late fees, other fees and charges,
accrued interest, and the remainder to principal.
7. Other Charges - If any part of a monthly payment remains unpald for a period of
more than 15 days after the payment due date, | will pay a late fee not exceeding
$5.00 or 5%_-of the overdue payment amount, whichever is less. To the extent
permitted by law, | agree to pay you all amounts you incur In enforcing the terms of
this Credit Agreement, including reasonable collection agency and attorney's fees and
‘court costs and other collection costs.
F, LOAN ORIGINATION FEE: If you charge me, | will pay you a Loan Origination
Fee at the time my loan Is disbursed. The dollar amount of any Loan Origination Fee
willbe determined by multiplying the sum of the Loan Origination Fee and the Loan
Amount Requested, to the extent advanced to me, times the Loan Origination Fee
Peréentage shawn on the first page of this Credit Agreement. The percentage would
be higher If computed only on the amount advanced rather than the entire principal
amount (Loan Origination Fee plus Loan Amount Requested), For exarnpie, a nominal
Loan Origination Fee of 6.5% on the entiré principal amount would equal 6.9519% of
the amount advanced. The Loan Originatlon Fee | will pay, if any, will be shown on my
Disclosure Statement and will be added to the principal amount of my loan. To the
extent permitted by law, and unless | timely cancel this Credit Agreement (see
Paragraph B.2), | will not be entitled to a refund of any Loan Origination Fee after my
loan has been disbursed.
G, RIGHT TO PREPAY: | have the right to prepay all or any part of my loan-atany - -
time without penaity.
' H. FORBEARANCE: [fi am unable to repay my loan In accordance with the terms
established under this Credit Agreement, | may request that you modify these terms. |
understand that such modification woutd be af your option, | understand that | will
remain responsible forall Interest accruing during any period of forbearance and that
you will add any Interest that | do not pay during any forbearance period to the
principal balance, as described in Paragraph D.3.
I, WHOLE LOAN DUE; To the extent permitted by applicable law, | will be in default
and you have the right fo give me notice that the whole outstanding principal balance,
accrued interest, and all other amounts payable to you under the terms of this Credit
Agreement, are due and payable at once (subject to any applicable law which may
give me a right to cure my default) if (1) | fail fo make any monthly payment to you
when due, (2) | dle, (3) | break any of my other promises in this Credit Agreement, (4)
Any bankruptcy proceeding fs begun by or against me, or | assign any of my assets for
the benefits of my creditors, or (5) i make any false written statementin applying for
this loan or any other student or education foan or at any time during the Defeérment or
Repayment Periods. if | default, | wili be required to pay Interest on this loan accruing
after default, The Interest rate after default will be subject to adjustment in the same
manner as before default, Upon default, you may also capitalize any Interest and fees
(.¢., add accrued and unpaid interest and fees to the principal balance), and increase
the Margin used to compute the Variable Rate by two percentage points (2%).
J, NOTICES:
4. [will send written notice to you, or any subsequent holder of this Credit Agreement,
within ten days after any change In my name, address, or enrollment status (for
example, if | withdraw from the School or transfer to another school Participating In this
loan program),
2. Any notice required to be given to me by you will be effective when mailed by first
class mail to the latest address you have for me,
K. INFORMATION: _
4. | must update the information | provided to you whenever you ask me to do so.
2. | authorize you from time to time fo request and receive from others credit related
information about me (and about my spouse if | live in a community property state).
L. ADDITIONAL AGREEMENTS:
1. | understand that you are located in California and that this Credit Agreement will
be entered into in the same state. CONSEQUENTLY, THE PROVISIONS OF THIS
CREDIT AGREEMENT WILL BE GOVERNED BY FEDERAL LAW AND THE LAWS
OF THE STATE OF CALIFORNIA, WITHOUT REGARD TO CONFLICT OF LAW
RULES.
2. The proceeds of this loan will be used donly for my educational expenses at the
School.

{W0188004.4} BK.04-05.CRWO. 10DC.0104 3 of 4

3, My responsibility for paying the loan evidenced by this Credit Agreement is
unaffected by the liability of any other person to me or by your failure to notify me that
a required payment has not been made, Without losing any of your rights under this
Credit Agreement you may accept (a) late payments, (b) partial payments or (c)
payments marked “paid In ful? orwith other restrictions. You may delay, fall to
exercise, or walve any of your rights on any occasion without losing your entitlernent to
exercise the right at any future time, or on any future occasion. You will not be
obligated to make any demand upon me, send me any notice, present this Credit
Agreement to me for payment or make protest of non-payment to me before suing to

collect on this Credit Agreement if am in default, and to the extent permitted by

applicable law, i hereby waive any right | might otherwise have to require such actions.
[WILL NOT SEND YOU PAYMENTS MARKED “PAID IN FULL", “WITHOUT
RECOURSE” OR WITH OTHER SIMILAR LANGUAGE UNLESS THOSE PAYMENTS
ARE MARKED FOR SPECIAL HANDLING AND SENT TO THE ADDRESS
IDENTIFIED FOR SUCH PAYMENTS ON MY BILLING STATEMENT, OR TO SUCH
OTHER ADDRESS AS | MAY BE GIVEN IN THE FUTURE,

4, | may not assign this Credit Agreement or ary of its benefits or obligations. You

may assign this Credit Agreement at any time,

5. The terms and conditions set forth in this Crédit Agreement and Instructions and the
Disclosure Statement constitute the entire agreement between you and ma.

6. If any provision of this Credit Agreement is held invalid or unenforceable, that
provision shall be considered omitted from this Credit Agreement without affecting the
validity or enforceability of the remainder of this Credit Agreement.

7. A provision of this Credit Agreement may only be modified if jointly agreed upon in
writing by you and me. Any modification will not affect the validity or enforceability of
the remainder of this Credit Agreement.

8. To the extent permitted by law, you have the right to apply money from any of my
deposit account(s) with you to pay all or a portion of any amount overdue under this
Credit Agreement. | hereby authorize you to obtain from the School all amounts which
ray be owed to me by the School, including any refund due to overpayrrent, early
termination of enroliment, or otherwise.

9. Ali dollar amounts stated in this Credit Agreement are in United States dollars. | will
make all payments In United States Dollars with no deduction for currency exchange.
10. If! fali to compiete the education program patd for with this loan, | am net relieved
of any obligation within or pursuant to thls Credit Agreement.

11. lacknowledge that the requested loan is subject to the limitations on
dischargeability in bankruptcy contained in Section 523 (a) (8) of the United
States Bankruptcy Code. Specifically, | understand that you have purchased a
guaranty of this loan, and that this loan is guaranteed by The Education

Resources Institute, Inc. (“TERI”), a non-profit institution. mot era

12, | authorize any school that i may attend to release to you, and any other persons
designated by you, any requested information pertinent to this loan (e.g., enroliment
status, prior loan history, and current address).

13. | authorize the Lender, any subsequent holder of this Credit Agreement, and their
agents (including TERI) to: (1) advise the School of the status of my application and
my loan, (2) respond to inquiries from prior or subsequent lenders or holders with
Tespect to my Credit Agreement and related documents, (3) release information and
make ingulriés to the persons | have given you as references, for the purposes of
teaming my current address and felephone number, (4) check my credit and
employment history and to answer questions about their credit experiance with me,
and (5) retain for use in any future transaction with the Borrower ail information
(including status Information and non-public personal information) of the Borrower
provided in connection with this Credit Agreement.

14. Walver by Lender: You waive (give up) any right to claim a security interest in any
property to secure this Credit Agreement. This does not affect any right to offset asa
matter of law.

15. If! fax my signature(s) on the first page of this Credit Agreement back fo you and
keep the copy | signed, | understand that under federal law the fax you receive will be
an original of the first page of this Credit Agreement. You and | agree that all copies of
this Credit Agreement (including the fax you receive and the copy | retain), taken
together, shall constitute a single original agreement.

16. If] elect to sign electronically an electronic record of this Credit Agreement, then
the following will apply as between Lender and me: (a) Lender will keep a non-
modifiable electronic record of this document and provide a copy to me upon request,
(b) i can and have downloaded and/or printed a copy of this document for my records
or notified the Lender to mai! me a copy of this document, and {c) the Lender's
electronic record of this document and any printout from that record shall be an
original for all purposes, including any lawsuit to collect amounts that | owe.

M. DISCLOSURE NOTICES:

 

 

ALL APPLICANTS:
IMPORTANT FEDERAL LAW NOTICE—

important information about procedures for opening a new
account:

To help the government fight the funding of terrorism and money
laundering activities, Federal law requires all financial institutions
to obtain, verify, and record information that identifies each
person who opens an account.

 

 

 
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What this means for you:

When you open an.account, we will ask for your name, address,
date of birth, and other information that will allow us to Identify
you. We may also ask to see your driver's license or other
identifying documents.

 

 

CALIFORNIA RESIDENTS: | have the right to prohibit the use of information contained
in my credit file in connection with transactions not Initlated by me. | may exercise this
right by notifying the consumer credit reporting agency. A married applicant may apply
for a separate account. if you take any adverse action as defined by Section 1785.3 of
the California Civil Code and the adverse action Is based, in whole or in part, on any
information contained in a consumer credit report, | have the right to obtain within 60
days a free copy of my consumer credit report from the consumer reporting agency
who fumished you my consumer credit report and from any other consumer credit
reporting agency which compiles and maintains files on consumers on a nationwide -
basis. | have the right as described by Section 1785.16 of the Califomia Civil Code to

~ dispute the accuracy or completeness of any information in a consumer credit report
fumished by the consumer credit reporting agency.
CALIFORNIA AND UTAH RESIDENTS: As required by Caiifomla and Utah law, lam
hereby notified that a negative credit report reflecting on my credit record may be
submitted to a credit reporting agency if | fail to fulfill the terms of my credit obligations,
IOWA, KANSAS AND NEBRASKA RESIDENTS (For purposes of the following
notice, the word “you” refers to the Borrower, not the Lender): NOTICE TO
CONSUMER. This is a consumer credit transaction. 1. DO NOT SIGN THIS”
CREDIT AGREEMENT BEFORE YOU READ THIS CREDIT AGREEMENT. 2. YOU
ARE ENTITLED TO A COPY OF THIS CREDIT AGREEMENT. 3. YOU MAY.
PREPAY THE UNPAID BALANCE AT ANY TIME WITHOUT PENALTY AND MAY.
BE ENTITLED TO A REFUND OF UNEARNED CHARGES IN ACCORDANCE WITH
LAW.
MARYLAND RESIDENTS: You elect Subtitle 10, Credit Grantor Closed End Credit
Provistons, of Title 12 of the Commercial Law Article of the Annotated Code of
Maryland only to the extent not Inconsistent with 12 U.S.C. § 85 and elated -
regulations and opinions, which you expressly reserve,
MISSOURI RESIDENTS: Oral agreements or commitments to
loan money, extend credit or to forbear from enforcing
repayment of a debt including promises to extend or renew

_ such debt are not enforceable, To protect me (borrower(s)) and
you (creditor) from misunderstanding or disappointment, any
agreements we reach covering such matters are contained in
this writing, which is the complete and exclusive statement of
the agreement between us, except as we may later agree in
writing to modify it.
NEVADA RESIDENTS: This is a loan for study,

NEW JERSEY NEW JERSEY RESIDENTS : The section headings of this Credit Agreement are a

table of contents and not contract terms. Portions of this Credit Agreement with

references to actlons taken to the extent of applicable law apply to acts or practices
that New. Jersey law permits or requires. In this Credit Agreement, acts or practices (|)
by you which are or may be permitted by “applicable law’ are permitted by New Jersey
law, and (II) that may or will be taken by you unless prohibited by “applicable law” are
permitted by New Jersey law,

NEW YORK, RHODE ISLAND AND VERMONT RESIDENTS: A consumer report
{credit report) may be obtained from a consumer-reporting agency (credit bureau} in
connection with this loan. If! request(1) | will be informed whether or not consumer
reports were obtalned, and (2) if reports were obtained, | will be informed of the names
and addresses of the credit bureaus that fumished the reports. If you agree to make
this loan to me, a consumer credit report may be requested or used in connection with
renewals or extensions of any credit for which | have applied, reviewing my loan,
taking collection action on my loan, or legitimate purposes assoclated with my loan.
OHIO RESIDENTS: The Ohio laws against discrimination require that all creditors
make credit equally avallable to all credit worthy customers, and thal credit reporting
agencies maintaln separate credit histories on each Individual upon request. The Ohio
Civil Rights Commission administers compliance with this law.

WISCONSIN RESIDENTS: For married Wisconsin residents, my signature on this
Credit Agreement confirms that this loan obligation is belng incurred in the Interest of
my marriage or family. No provision of any marital property agreement (pre-marital
agreement), unilateral statement under Section 766.59 or court decree under Section
766.70 adversely affects the interest of the Lender unless the Lender, prior to the time
that the loan Is approved, is fumished with a copy of the agreement, statement, or
decree or has actual knowledge of the adverse provision when the abligation to the
Lender Is incurred. If the loan for which | am applying Is granted, my spouse will also
receive notification that credit has been extended to me.

N. BORROWER'S CERTIFICATION: | declare under penalty of perjury under the
laws of the United States of America that the following is true and ccrrect. | certify that
all information | provided to you in connection with this loan, Including without
\Imitation, the information contalned In this Credit Agreement, |s true, complete and

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correct to the best of my knowledge and bellef and Is made [n good falth. | understand
that | am responsible for repaying immediately any funds that | receive which are not
to be used or are not used for educational expenses related fo attendance at the
School for the academic period stated. | certify that! am not now in defauit ona
Federal Perkins Loan, a Federal Stafford Loan, a Federaily Insured Student Loan, a
Federal Supplemental Loan for Students (SLS), a Federal PLUS Loan, an income
Contingent Loan, a Federal Consolidation Loan, a Federai Ford Direct Loan, or any
other education loan recelved for attendance at any school, The iegal age for entering
into contracts Is 18 years of age in every State in the United States except the
following: Alabama and Nebraska (19 years old), and Mississippi and Puerto Rico (21
years old). | certify that | meet these state age requirements.

 
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NOTE DISCLOSURE STATEMENT _
$6,629.83 Borrowers) ESTHER. HOFFMAN mewncss
4k 1605 a . ”
Loan No,
Student: ESTHERRHOPRMAN
Date: Auguats. 2004
ESTHER RHOFFMAN Lender Name and Address; |
8808 EMERSON PL
ENERETTE,..WA 98208
LOS ANGELES, CA 90017
This disclosure statement relates to your Loan Note disbursed on . August 4, 2004

Because yaur Loan is either being disbursed or entering repayment, or the repayment terms are being modified, the foitawing
information about your Loan i baing given to you. . .

     
 

 

 

 

  

ANNUAL PERCENTAGE RATE FINANCE CHARGE Amount Financed Total of Payments
‘The cost of your credit aga The dollar amount the credit [Tha amount of credit provided — [The amount you will have pald afer
yearly rate, will cost you, tg you or on your behalf. you have msde all payments scheduled,
6.724 % | $__ 6,758.40 $___ 6,000.00 $12,758.40 _ -

   

 

 

 

 

 

Amount of
1

 

VARIABLE RATE: The Annual Percentage Rate, which is based on an index plus a margin, may increase during the term of
the loan if the index rate increases, The Index is (check one): :

(-] Prime Rate Index Adjusted Monthly - The highest U.S, bank prime rate published in the "Money Rates” section of
The Walt Street Joumat on the fast business day of each calendar month.

[1] Prime Rate Index Adjusted Quarterly « The highest, U.S, bank prime rate published in the "Money Rates" section of
The. Wall Sirtet Journal on the last business day of each calendar quarter,

{] LIBOR Index Adjusted Quarterly - The average of the one-month London Interbank Offered Rates published in the
“Money Rates" section of The Wall Street Joumal on the first business day of each of the three (3) calendar months
immediately preceding the first day of cach calendar quarter. '

Any increaso in the index and the Annual Percentage Rate which occurs while principal payments are deferred will Increase
the amount of any current and all future payments, Any Increase in the index and the Annual Percentage Rate which accura while
principal and interest payments are deferred will increase the amount of all future payments, Any increase in the index and the
Annual Percentage Rate which occurs after you have begun to make principal and Interest payments on your Jaan will increase the
amount of your future principal and interest payments beginning with your next annual payment adjustment date, For example,
asgurne you obtaln a loan in your junior year, in the amount of $10,000, at an Interest rate of 11%, and you defer principal and
interest payments until after your graduation, and the repayment term of the loan is 20 years, if the interest rate Increased to 12%
on January Ist of your senior year, the interest which accrues while principal and interest payments are deferred will Increase dy
$91.01, and your monthly principal and interest payments would increase by $ 9.37.

SECURITY: You have given a security Interest in atl refunds or amounts owed to you at any time by the student’s educational
{nstitution. Collateral securing other toang with the Lender may also seoure-this Loan.

LATE CHARGES: If a payment.is more than 15 days late, you may be charged $5.00 or 5% of the payment, whichever ta legs, If
you default, Lender (or any subsequent holder or any subsequent holder of your Loan Note) may incressé the margin used to
compute the Annusl Percentage Rate by twa percentage poinis (2%). ,
PREPAYMENT: Ifyou pay off exrly, you will not have to pay a penalty,

See your contract documents for any additional Infarmatlan about non-payment, default, any required repayment in full before the
scheduled date, any security interest and prepayment refunds and penoities, |

Estimates: All numerical disclosures except the late payment disclosure are estimates,

 

 

 

Principal Amount of Note (Amount Financed lus Prepald Finance Charge) $__ 6629.83
Itemizatton of Amount Financed — 5+ ~ . te on rere
Amount pald la ESTHER R HOFFMAN $_____ 6,000.00
Amount paid to $e
Tota} Amount Financed $______ 6,000.00 _
Iremization of Prepaid Finance Charge

' Origination Foe $29.83

Tainl Prepald Finance Charge(s) . $ 2.9.83,

TAAL OOS O14 BKTUDP Education Maximizer UG Loan File Copy

 
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<DOCUMENT>
 <PYPEH>EX-10.15
<SEQUENCE>16
<FILENAME>d281317.txt
<DESCRIPTION>POOL SUPPLEMENT (BANK OF AMERICA, N.A.)
<TEXT> :
‘ EXHIBIT 10.15

POOL SUPPLEMENT
BANK OF AMERICA, N.A.

_ This- Pool Supplement (the "Supplement") is entered into pursuant to and
forms a part of that certain (i) Note Purchasé Agreement dated as of April 30,
2001 and (ii) Note Purchase Agreement dated as of June 30, 2003, each as amended
or supplemented from the date of execution of the Agreement through the date of
this Supplement (together, the “Agreement"), by and between The First Marblehead
Corporation and Bank of America, N.A. (the "Program Lender"). This Supplement is
dated as of October 28, 2004. Capitalized terms used in this Supplement without.
definitions have the meanings set forth in the Agreement.

Article 1: Purchase and Sale.

In consideration of the Minimum Purchase Price set forth in Schedule 1
attached hereto, the Program Lender hereby transfers, sells, sets over and
assigns to The National Collegiate Funding LLC (the "Depositor"), woon the terms
and conditions set forth in the Agreement (which are incorporated herein by
reference with the same force and effect as if set forth in full herein), each
student loan set forth on the attached Schedule 2 (the "Transferred Bank of
America Loans") along with all of the Program Lender’s rights under the Guaranty
Agreement relating to the Transferred Bank of America Loans. The Depositor in
turm will sell the Transferred Bank of America Loans to The National Collegiate
Student Loan Trust 2004-2 (the “Trust"), The Program Lender hereby transfers and
delivers to the Depositor each Note evidencing such Transferred Bank of America
Loan and all Origination Records relating thereto, in accordance with the terms
of the Agreement. The Depositor hereby purchases said Notes on said terms and
conditions.

Article 2: Price.

The amounts paid pursuant to this Supplement are the amounts set forth
on Schedule 1 attached hereto.

Article 3: Representations and Warranties.

3.01. By Program Lender.

The Program Lender repeats the representations and warranties contained
in Section 5.02 of the Agreement for the benefit of each of the Depositor and
the Trust and confirms the same are true and correct as of the date hereof with
respect to the Agreement and to this Supplement.

3.02. By Depositor.

The Depositor hereby represents and warrants to the Program Lender that
at the date of execution and delivery of this Supplement by the Depositor:

{a) The Depositor is duly organized and validly existing as a limited
liability company under the laws of the State of Delaware with the due power and

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authority to own its properties and to conduct its business as such properties
‘are currently owned and such business is presently conducted, and had at all
relevant times, and has, the power, authority and legal right to acquire and own
the Transferred Bank of America Loans.

<PAGE>

(b) The Depositor is duly qualified to do business and has obtained all
necessary licenses and approvals in all jurisdictions in which the ownership or
lease of property or the conduct of its business shall require such
qualifications.

(c) The Depositor has the power and authority to execute and deliver
this Supplement and to carry out its respective terms; the Depositor has the
power and authority to purchase the Transferred Bank of America Loans and. rights
relating thereto as provided herein from the Program Lender, and the Depositor
has duly authorized such purchase from the Program Lender by all necessary
action; and the. execution, delivery and performance of this Supplement has been
duly authorized by the Depositer by ail necessary action on the part of the
Depositor. ‘

(d} This Supplement, together with the Agreement of which this
Supplement forms a part, constitutes & legal, valid and binding obligation Of
the Depositor, enforceable in accordance with its terms.

(e) The consummation of the transactions contemplated by the Agreement
and this Supplement and the fulfillment of the terms hereof do not conflict
with, result in any breach of any of the terms and provisions of, or constitute
(with or without notice or lapse of time) a default under, the governing
‘instruments of the Depositor or any indenture, agreement or other instrument to
which the Depositor is a party or by which it is bound; or result in the
creation or imposition of any lien wpon any of its properties pursuant to the
terms of any such indenture, agreement or other instrument; or violate any law
or any order, rule or regulation applicable to the Depositor of any court or of
any federal or state regulatory body, administrative agency or other
governmental instrumentality having jurisdiction over the Depositor or its
properties,

(£) There are no proceedings or investigations pending, or threatened,
before any court, regulatory body, administrative agency or other governmental .
instrumentality having jurisdiction over the Depositor or its properties: (i)
asserting the invalidity of the Agreement or this Supplement, (ii) seeking to
prevent the consummation of any of the transactions contemplated by the
Agreement or this Supplement, or (iii) seeking any determination or ruling that
is likely to materially or adversely affect the performance by the Depositor of
its obligations under, or the validity or enforceability of the Agreement or
this Supplement.

Article 4: Cross Recelpt.

The Program Lender hereby acknowledges receipt of the Minimum Purchase
Price. The Depositor hereby acknowledges receipt of the Transferred Bank of
America Loans.

Article 5: Assignment of Origination, Guaranty and Servicing Rights.
The Program Lender hereby assigns and sats over to the Depositor any

claims it may now or hereafter have under the Guaranty Agreement, the
Origination Agreement and the Servicing Agreement to the extent the same relate

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to the Transferred Bank. of America Loans described in Schedule 2, other than any
‘right 'to obtain servicing after the date hereof. It is the intent of this
provision to vest in the Depositor any claim of the Program Lender relating to
defects in origination, guaranty or servicing of the loans purchased hereunder
in order to permit the Depositor to assert such claims directly and obviate any
need to make the same claims against the Program Lender under this Supplement.

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IN WITNESS WHEREOF, the parties have caused this Supplement ‘to be
executed as of the date set ‘Forth above.

THE FIRST MARBLEHEAD CORPORATION

By: /s/ John A. Hupalo

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Name: John a. Hupalo
Title: Executive Vice President

BANK OF AMERICA, N.A.

By: /s/ Kathy Cannon

Kathy Cannon
Senior Vice President

THE NATIONAL COLLEGIATE FUNDING LEC

By: GATE Holdings, Inc., Member

By: /s/ Stephen Anbinder

ee a a ee nee ae a et ee ee ene nee ye me te

Name: Stephen Anbinder
Title: President

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SCHEDULE 1

[**]

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[Confidential Treatment Requested]

<PAGE>
| SCHEDULE 2
{On file with the Indenture Trustee]
</TEXT>

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DEPOSIT AND SALE AGREEMENT
THE NATIONAL COLLEGIATE STUDENT LOAN TRUST 2004-2

This Deposit and Sale Agreement (the “Sale Agreement”), dated as of October 28, 2004,
between The National Collegiate Funding LLC, in its capacity as seller (in. such capacity, the
“Seller”), and The National Collegiate Student Loan Trust 2004-2, as purchaser (the
“Purchaser”), shall be effective upon execution by the parties hereto.

WHEREAS, the Seller is the owner of certain student loans; and

WHEREAS, the Seller desires to sell its interest in such student loans and the Purchaser
desires to purchase such loans from the Seller,

NOW, THEREFORE, in connection with the mutual promises contained herein, the
parties hereto agree as follows:

ARTICLE I
TERMS

This Sale Agreement sets forth the terms under which the Seller is selling and the
Purchaser is purchasing the student loans listed on Schedule 2 to each of the Pool Supplements
set forth on Schedule A attached hereto (the “Transferred Student Loans”).

ARTICLE Il
DEFINITIONS

Capitalized terms used but not otherwise defined herein shall have the definitions set

forth in Appendix A of the Indenture dated as of October 1, 2004 between U.S. Bank National
Association (the “Indenture Trustee”) and the Purchaser.

ARTICLE II
SALE AND PURCHASE

Section 3.01. Saleof Loans. The Seller hereby sells and the Purchaser hereby purchases
the Transferred Student Loans.

Section 3.02. Assignment of Rights, The Seller hereby assigns to the Purchaser and the
Purchaser hereby accepts all of the Seller’s rights and interests under each of the Pool
Supplements listed on Schedule A attached hereto and the related Student Loan Purchase
Agreements listed on Schedule B attached hereto.

Section 3.03. Settlement_of the Payment. The Purchaser shall pay the Seller the
purchase price set forth in Schedule 1 of each of the Pool Supplements by wire transfer in
immediately available funds to the account specified by the Seller. In addition, the Purchaser
will also issue the Class A-5 Notes to the Seller pursuant to the Indenture.

 
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Section 3.04, Assistance by Seller. Following the execution of this Sale Agreement, the
Seller shall provide any reasonable assistance requested by the Purchaser in determining that all
required documentation on the Transferred Student Loans is present and correct.

ARTICLE IV
REPRESENTATIONS, WARRANTIES AND COVENANTS OF SELLER

Section 4.01. General. The Seller represents and warrants to the Purchaser that as of the
date of this Sale Agreement:

 

(a) The Seller is duly organized and existing under the laws of the State of Delaware;
and

(b) The Seller has all requisite power and authority to. enter into and to perform the
terms of this Sale Agreement.

Section 4:02, Loan Representations. The Seller represents and warrants to the Purchaser
that with respect to each Transferred Student Loan purchased by the Purchaser pursuant to this
Sale Agreement, the Seller is making the same representations and warranties made by the
respective program lender with respect to each Transferred Student Loan pursuant to the
respective Student Loan Purchase Agreement listed on Schedule B attached hereto. ,

Section 4.03. Covenants, The Seller, in its capacity as purchaser of the Transferred
Student Loans pursuant to the Pool Supplements, hereby covenants that it will enforce the
covenants and agreements of each program lender in the respective Student Loan Purchase
~ Agreement and related Pool Supplement. The. Seller further covenants that it will not waive,
amend, modify, supplement or terminate any Student Loan Purchase Agreement or Pool
- Supplement or any provision thereof without the consent of the Purchaser, which consent the
Purchaser hereby agrees not to provide without the prior written consent of the Indenture Trustee
and the Interested Noteholders in accordance with the Purchaser’ s covenant in Section-3.07(c) of
the Indenture.

 

ARTICLE V
' PURCHASE OF LOANS; , REIMBURSEMENT

Each patty to this Sale Agreement shall give notice to the other such parties and to the
Servicer, First Marblehead Data Services, Inc. and Wachovia Trust Company, National
Association (the “Owner Trustee”) promptly, in writing, upon the discovery of any breach of the
Seller’s representations and warranties made pursuant to this Sale Agreement which has a
_ materially adverse effect on the interest of the Purchaser in any Transferred Student Loan. In the
event of such a material breach, the Seller shall cure or repurchase the Transferred Student Loan
‘in accordance with the remedies set forth in the respective Student Loan Purchase Agreement.

ARTICLE VI
LIABILITY OF SELLER; INDEMNITIES

The Seller shall be liable in accordance herewith only to the extent of the obligations
specifically undertaken by the Seller under this Sale Agreement.

 
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(a) The Seller shall indemnify, defend and hold harmless the Purchaser and the
Owner Trustee in its individual capacity and their officers, directors, employees and agents from
and against any taxes that may at any time be asserted against any such Person with respect to-
the transactions contemplated herein and in the other Basic Documents (except any such income
taxes arising out of fees paid to the Owner Trustee), including any sales, gross receipts, general
corporation, tangible and intangible personal property, privilege or license taxes and costs and
expenses in defending against the same.

(b) The Seller shall indemnify, defend and hold harmless the Purchaser and the
Owner Trustee in its individual capacity and their officers, directors, employees and agents of the
Purchaser and the Owner Trustee from and against any and all costs, expenses, losses, claims,
damages and liabilities arising out of, or imposed upon such Person through, the Seller’s willful
misfeasance, bad faith or gross negligence in the performance of its duties under this Sale

Agreement, or by reason of reckless disregard af its obligations and duties under this Sale
' Agreement. ;

Indemnification under this Section shall survive the termination of this Sale Agreement
and shall include reasonable fees and expenses of counsel and expenses of litigation. If the
Seller shall have made any indemnity payments pursuant to this Section and the Person to or for
the benefit of whom such payments are made thereafter shall collect any of such amounts from
others, such Person shall promptly repay such amounts to the Seller, without interest.

ARTICLE VII
MERGER OR CONSOLIDATION OF, OR ASSUMPTION
OF THE OBLIGATIONS OF SELLER

Any Person (a) into which the Seller may be merged or consolidated, (b) which may
result from any merger or consolidation to which the Seller shall be a party or (c) which may
succeed to the properties and assets of the Seller substantially as a whole, shall be the successor
to the Seller without the execution or filing of any document or any further act by any of the
' parties to this Sale Agreement; provided, however, that the Seller hereby covenants that it will

not consummate any of the foregoing transactions except upon satisfaction of the following: (i)
- the surviving Person, if other than the Seller, executes an agreement of assumption to perform
every obligation of the Seller under this Sale Agreement, (ii) immediately after giving effect to
such transaction, no representation or warranty made pursuant to this Sale Agreement shall have
been breached, (iii) the surviving Person, if other than the Seller, shall have delivered an
Officers’ Certificate and an opinion of counsel each stating that such consolidation, merger or
succession and such agreement of assumption comply with this Section and that all conditions
precedent, if any, provided for in this Sale Agreement relating to such transaction have been
complied with, and that the Rating Agency Condition shall have been satisfied with respect to
such transaction, (iv) if the Seller is not the surviving entity, such transaction will not result in a
material adverse federal or state tax consequence to the Purchaser or the Noteholders and holders
of the grantor trust certificates (the ““Certifcates”) (the “Certificateholders”, together with the
Noteholders, the “Securityholders”) and (v) if the Seller is not the surviving entity, the Seller
shall have delivered an opinion of counsel either (A) stating that, in the opinion of such counsel,
all financing statements and continuation statements and amendments thereto have been
executed and filed that are necessary fully to preserve and protect the interest of the Purchaser in

 

 
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the Transferred Student Loans and reciting the details of such filings, or (B) stating that, in the
opinion of such counsel, no such action shall be necessary to preserve and protect such interests.

_ ARTICLE VIII -
LIMITATION ON LIABILITY OF SELLER AND OTHERS

The Seller and any director or officer or employee or agent thereof may rely in good faith
on the advice of counsel or on any document of any kind, prima facie properly executed and
submitted by any Person respecting any matters arising hereunder (provided that such reliance
shall not limit in any way the Seller’s obligations under this Sale Agreement). The Seller shall
not be under any obligation to appear in, prosecute or defend any legal action that shall not be
incidental to its obligations under this Sale Agreement or the Student Loan Purchase
Agreements, and that in its opinion may involve it-in any expense or liability.

: ARTICLE IX:
_ SURVIVAL OF COVENANTS

All covenants, agreements, representations and warranties made herein shall survive the
consummation of the purchase of the Transferred Student Loans; provided, however, that to the
extent any of the same relate to a corresponding covenant, agreement, representation or warranty
contained in a Student Loan Purchase Agreement, the same shall survive to the extent that such
corresponding covenant, agreement, representation or warranty survives the applicable Student
Loan Purchase Agreement. All covenants, agreements, representations and warranties made or
furnished pursuant hereto by or for the benefit of the Seller shall bind and inure to the benefit of
any successors or assigns of the Purchaser, including the Indenture Trustee and the Grantor
- Trustee. This Sale Agreement may be changed, modified or discharged, and any rights or
obligations hereunder may be waived, only by a written instrument signed by a duly authorized
officer of the party against whom enforcement of any such waiver, change, modification or
discharge is sought. The waiver by the Indenture Trustee, at the direction of the Noteholders
(pursuant to the Indenture), and the Grantor Trustee, at the direction of the Certificateholders
(pursuant to the Grantor Trust Agreement), of any covenant, agreement, representation or
‘warranty required to be made or furnished by the Seller or the waiver by the Indenture Trustee, at
the direction of the Noteholders (pursuant to the Indenture), and the Grantor Trustee, at the
direction of the Certificateholders (pursuant to the Grantor Trust Agreement), of any provision
herein contained shall not be deemed to be a waiver of any breach of any other covenant,
agreement, representation, warranty or provision herein contained, nor shall any waiver or any
custom or practice which may evolve between the parties in the administration of the terms
hereof, be construed to lessen the right of the Indenture Trustee, at the direction of the
Noteholders (pursuant to the Indenture), and the Grantor Trustee, at the direction of the
Certificateholders (pursuant to the Grantor Trust Agreement), to insist upon the performance by
the Seller in strict accordance with said terms. .

ARTICLE X
COMMUNICATION AND NOTICE REQUIREMENTS

All communications, notices and approvals provided for hereunder shall be in writing and
mailed or delivered-to the Seller or the Purchaser, as the case may be. Notice given in any such

 
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communication, mailed to the Seller or the Purchaser by appropriately addressed registered mail,
shall be deemed to have been given on the day following the date of such mailing and shall be
addressed as follows:

If to the Purchaser, to:

The National Collegiate Student Loan Trust 2004-2

c/o Wachovia Trust Company, National Association, as Owner Trustee
One Rodney Square, 1st Floor

920 King Street

Wilmington, Delaware 19801

Attention: Mr. Sterling C. Correia

If to the Seller, to:

The National Collegiate Funding LLC
c/o First Marblehead Data Services, Inc.
230 Park Avenue, 10th Floor

New York, NY 10169

Attention: Mr. Rob Baron

with a copy to:

First Marblehead Corporation

The Prudential Tower -
800 Boylston: Street - 34" Floor
Boston, MA 02199-8157
Attention: Mr. Richard P. Zermani

or to such other address as either party shall have provided to the other parties in writing. Any
notice required to be in writing hereunder shall be deemed given if such notice is mailed by
certified mail, postage prepaid, or hand-delivered to the address of such party as provided above.

ARTICLE XI
AMENDMENT

This Sale Agreement may be amended by the parties hereto without the consent of the
related Securityholders for the purpose of adding any provisions to or changing in any manner or.
eliminating any of the provisions of the Sale Agreement or of modifying in any manner the rights
__ of such Securityholders; provided that such action will not, in the opinion of counsel satisfactory
to the Indenture Trustee and the Grantor Trustee, materially affect the interest of any such
Securityholder.

In addition, this Sale Agreement may also be amended from time to time by the Seller
and the Purchaser, with the consent of the Noteholders of the Notes evidencing a majority of the
Outstanding Amount of the Notes and the consent of the Certificateholders of the Certificates
evidencing a majority of the outstanding principal amount of the Certificates, for the purpose of

 
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adding any provisions to or changing in any manner or eliminating any of the provisions of this

Sale Agreement or of modifying in any manner the rights of the Noteholders or the.
Certificateholders, respectively; provided, however, that no such amendment shall (a) increase or

reduce in any manner the amount of, or accelerate or delay the time of, collections of payments

with respect to Transferred Student Loans or distributions that shall be required to be made for

the benefit of the Securityholders or (b) reduce the aforesaid percentage of the Outstanding

Amount of the Notes or the Certificates, the Noteholders or the Certificateholders of which are

required to consent to any such amendment, without the consent of all outstanding Noteholders

or Certificateholders, respectively.

Promptly after the execution of any such amendment or consent (or, in the case of the
Rating Agencies, five Business Days prior thereto), the Purchaser shall furnish written
notification of the substance of such amendment or consent to the Indenture Trustee, the Grantor
Trustee and each of the Rating Agencies,

It shall not be necessary for the consent of Securityholders pursuant to this Section to
approve the particular form of any proposed amendment or consent, but it shall be sufficient if
such consent shall approve the substance thereof.

Prior to the execution of any amendment to this Sale Agreement, the Owner Trustee shall
‘be entitled to receive and rely upon an opinion of counsel stating that execution of such
amendment is authorized or permitted by this Sale Agreement, the Owner Trustee may, but shall
not be obligated to, enter into any such' amendment which affects the Owner Trustee’s own -
rights, duties or immunities under this Sale Agreement or otherwise,

ARTICLE XII ~
ASSIGNMENT

The Seller hereby assigns its entire right, title and interest as purchaser under this Sale
Agreement and the Student Loan Purchase Agreement thereunder to the Purchaser as of the date
hereof and acknowledges that the Purchaser will assign the same, together with the right, title
and interest of the Purchaser hereunder, to the Indenture Trustee under the Indenture,

ARTICLE XII
GOVERNING LAW

THIS SALE AGREEMENT SHALL BE GOVERNED BY, AND CONSTRUED IN
ACCORDANCE WITH THE LAWS OF THE STATE OF NEW YORK, INCLUDING ©
SECTIONS 5-1401 AND 5-1402 OF THE NEW YORK GENERAL OBLIGATIONS LAW,
BUT OTHERWISE WITHOUT REGARD TO CONFLICT OF LAW PRINCIPLES, AND
THE OBLIGATIONS, RIGHTS AND REMEDIES OF THE PARTIES, HEREUNDER
SHALL BE DETERMINED IN ACCORDANCE WITH SUCH LAWS.

ARTICLE XIV ,
LIMITATION OF LIABILITY OF OWNER TRUSTEE

Notwithstanding anything contained herein to the contrary, this instrument has been
executed by Wachovia Trust Company, National Association, not in its individual capacity but

 
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solely in its capacity as Owner Trustee of the Purchaser, and in no event shall Wachovia Trust
Company, National Association in its individual capacity or any beneficial owner of the
Purchaser have any liability for the representations, warranties, covenants, agreements or other
obligations of the Purchaser hereunder, as to all of which recourse shall be had solely to the
assets of the Purchaser. For all purposes of this Sale Agreement, in the performance of any
duties or obligations.of the Purchaser hereunder, the Owner Trustee shall be subject to, and -
entitled to the benefits of, the terms and provisions of Articles VIII, IX and X of the Trust
Agreement. -

[Signature Pages Follow]

 
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IN WITNESS WHEREOF, the parties hereto have caused this Sale Agreement to be duly
executed by their respective officers hereunto duly authorized, as of the day and year first above
written. ,

THE NATIONAL COLLEGIATE FUNDING LLC, as
Seller :

By: GATE Holdings, Inc., Member

By:

 

Name: “ [ Stephen Anbinder
Title: President -
GATE Holdings, Inc.

THE NATIONAL COLLEGIATE STUDENT LOAN
TRUST 2004-2, as Purchaser

By: Wachovia Trust Company, National Association,
not in its individual capacity but solely as Owner
Trustee

By:
Name:
Title:

Deposit and Sale Agreement

 
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IN WITNESS WHEREOEF, the parties hereto have caused this Sale Agreement to be duly
executed by their respective officers hereunto duly authorized, as of the day and year first above
written.

THE NATIONAL COLLEGIATE FUNDING LLC, as.
Seller

By: GATE Holdings, Inc., Member

By:

 

Name:
Title:

THE NATIONAL COLLEGIATE STUDENT LOAN
_ TRUST 2004-2, as Purchaser

By: Wachovia Trust Company, National Association,
not in its individual capacity but solely as Owner
Trustee

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Nagle STERLING C. CORREIA
Title; = * VICE PRESIDENT

 

Deposit and Sale Agreement

 
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SCHEDULE A
Pool Supplements

Each of the following Pool Supplements was entered into by and among The First Marblehead
Corporation, The National Collegiate Funding LLC and:

e Bank of America, N.A., dated October 28, 2004, for loans that were originated under
_ Bank of America’s BAGEL Loan Program, CEDU Loan Program, Direct to Consumer
Loan Program and ISLP Loan Program.

e . Bank One, N.A., dated October 28, 2004, for loans that were originated under Bank
One’s CORPORATE ADVANTAGE Loan Program, EDUCATION ONE Loan Program
and M&T REFERRAL Loan Program.

e Charter One Bank, N.A., dated October 28, 2004, for loans that were originated under the.
following Charter One programs: AAA Southern New England Bank, AES
EducationGAIN Loan Program, (AMS) TuitionPay Diploma Loan Program, Brazos
Alternative Loan Program, CFS Direct to Consumer Loan Program, Citibank Flexible
Education Loan Program, College Loan Corporation Loan Program, Comerica
Alternative Loan Program, Custom Educredit Loan Program, Education Assistance ©
Services Loan Program, ESF Alternative Loan Program, Extra Credit IT Loan Program
(North Texas Higher Education), M&I Alternative Loan Program, National Education

 

Program, PNC Bank Resource Loan Program, SAF Alternative Loan Program, Start
Education Loan Program, Southwest Loan Program and WAMU Alternative Student
Loan Program.

° Chase Manhattan Bank USA, N.A., dated October 28, 2004, for loans that were
originated under Chase’s Chase Extra Loan Program.

° Citizens Bank of Rhode Island, dated October 28, 2004, for loans that were originated
under Citizens Bank of Rhode Island’s DTC Loan Program, Navy Federal Referral Loan
Program, Xanthus Loan Program and Pennsylvania State University Undergraduate and —
Continuing Education Loan Program.

° GMAC Bank, dated October 28, 2004, for loans that were originated under GMAC

’ . Bank’s GMAC Altemative Loan Program.

® The Huntington National Bank, dated’ October 28, 2004, for loans that were originated
under The Huntington National Bank’s Huntington Bank Education Loan Program.

° Manufacturers and Traders Trust Company, dated October 28, 2004, for loans that were
originated under Manufacturers and Traders Trust Company’ s M&T Alternative Loan
Program.

° PNC Bank, dated October 28, 2004, for loans that were originated under PNC Bank’s
PNC Bank Alternative Loan Program.

SunTrust Bank, dated October 28, 2004, for loans that were originated under SunTrust
Bank’s SunTrust Alternative Loan Program.

 
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SCHEDULE B
Student Loan Purchase Agreements

Each of the Note Purchase Agreements, as amended or supplemented, was entered into by and
between The First Marblehead Corporation and:

Bank of America, N.A., dated April 30, 2001, for loans that were originated under Bank
of America’s BAGEL Loan Program, CEDU Loan Program and ISLP Loan Program.
Bank of America, N.A., dated June 30, 2003, for loans that were originated under Bank .
of America’s Direct to Consumer Loan Program.

Bank One, N.A., dated May 1, 2002, for loans that were originated under Bank One’s
CORPORATE ADVANTAGE Loan Program and EDUCATION ONE Loan Program.
Bank One, N.A., dated July 26, 2002, for loans that were originated under Bank One’s
M&T REFERRAL Loan Program .

Charter One Bank, N.A., dated as of December 29, 2003 for loans that were originated
under Charter One’s AAA Southern New England Bank Loan Program,

- Charter One Bank, N.A., dated October 31, 2003, for loans that were originated under

Charter One’s AES EducationGAIN Loan Program.

Charter One Bank, N.A., dated May 15, 2002, for loans that were originated under
Charter One’s (AMS) TuitionPay Diploma Loan Program,

Charter One Bank, N.A., dated July 15, 2003, for loans that were originated under
Charter One’s Brazos Alternative Loan Program.

Charter One Bank, N.A., dated May 15, 2002, for loans that were originated under
Charter One’s CFS Direct to Consumer Loan Program.

Charter One Bank, N.A., dated June 30, 2003, for loans that were originated under
Charter One’s Citibank Flexible Education Loan Program.

Charter One Bank, N.A., dated July 1, 2002, for loans that were originated under Charter
One’s College Loan Corporation Loan Program.

Charter One Bank, N.A., dated December 4, 2002, for loans that were originated under
Charter One’s Comerica Alternative Loan Program.

Charter One Bank, N.A., dated December 1, 2003, for loans that were originated under
Charter One’s Custom Educredit Loan Program.

Charter One Bank, N.A., dated May 15, 2002, for loans that were originated under
Charter One’s Education Assistance Services Loan Program.

Charter One Bank, N.A., dated May 15, 2003, for loans that were originated under
Charter One’s ESF Alternative Loan Program.

- Charter One Bank, N.A., dated September 15, 2003, for loans that were originated under

Charter One’s Extra Credit If Loan Program (North Texas Higher Education).

Charter One Bank, N.A., dated September 20, 2003, for loans that were originated under
Charter One’s M&I Altemative Loan Program.

Charter One Bank, N.A., dated November 17, 2003, for loans that were originated under
Charter One’s National Education Loan Program.

Charter One Bank, N.A., dated May 15, 2003, for loans that were originated under
Charter One’s Navy Federal Alternative Loan Program.

 
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Charter One Bank, N.A., dated. May 15, 2002, for loans that were originated under
Charter One’s NextStudent Alternative Loan Program.
Charter One Bank, N.A., dated March 17, 2003, for loans that were originated under
Charter One’s PNC Bank ‘Resource Loan Program.
Charter One Bank, N.A., dated May 1, 2003, for loans that were originated under Charter
One’s SAF Alternative Loan Program.
Charter One Bank, N.A., dated September 20, 2002, for loans that were originated under
Charter One’s Southwest Loan Program.
. Charter One Bank, N.A., dated March 25, 2004, for loans that were originated under
Charter One’s Start Education Loan Program.
Charter One Bank, N.A., dated May 15, 2003, for-loans that were originated under
Charter One’s WAMU Alternative Student Loan Program.
Chase Manhattan Bank USA, N.A., dated September 30, 2003, for loans that were
_ originated under Chase’s Chase Extra Loan Program.
Citizens Bank of Rhode Island, dated April 30, 2004, for loans that were originated under
Citizens Bank of Rhode Island’s DTC Alternative Loan Program.
Citizens Bank of Rhode Island, dated April 30, 2004, for loans that were originated under
Citizens Bank of Rhode Island’s Navy Federal Referral Loan Program. .
' Citizens Bank of Rhode Island, dated April 30, 2004, for loans that were originated under
Citizens Bank of Rhode Island’s Xanthus Loan Program.
Citizens Bank of Rhode Island, dated October 1, 2002, for loans that were originated
under Citizens Bank of Rhode Island’s Pennsylvania State University Undergraduate and
Continuing Education Loan Program.
GMAC Bank, dated May 30, 2003, for loans that were originated under GMAC Bank’s
GMAC Alternative Loan Program.
The Huntington National Bank, dated May 20, 2003, for loans that were originated under
The Huntington National Bank’s Huntington Bank Education Loan Program.
Manufacturers and Traders Trust Company, dated April 29, 2004, for loans that were
originated under Manufacturers and Traders Trust Company’s Alternative Loan Program.
PNC Bank, N.A., dated April 22, 2004, for loans that were originated under PNC Bank’s
Alternative Conforming Loan Program. .
. SunTrust Bank, dated March 1, 2002, for loans that were originated under SunTrust
Bank’s SunTrust Alternative Loan Program.

 
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EXHIBIT 5

 
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COUNTY C
SNOHOMISH C0 WASH

IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
FOR SNOHOMISH COUNTY

- NATIONAL COLLEGIATE STUDENT Case No.: 16-2-15162-31

SOO TRUST a DELAWARE NOTICE OF INTENT TO APPLY FOR
(8) ORDER OF DEFAULT

oO oOo 2 DA OM BP WW NV

Plaintiff,
vs, |
ESTHER HOFFMAN

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em OD

Defendant.

ra
N

TO: ESTHER HOFFMAN
8808 EMERSON PL
EVERETT WA 98208-1946

Se ee Re
wm BB Ww

The defendant has failed to appear, plead, or otherwise defend against the allegations in

the Complaint within twenty (20) days from the date of service of the Summons and Complaint.

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The defendant is hereby notified of the plaintiff's intent to apply for an order of Default

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Judgment in the above entitled case in no less than 10 days after service of this Notice in
_accordance with CR 55(f). |

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Oo ©

Application for the order of Default Judgment will be made in the Ex Parte Department of
SNOHOMISH County Court at:

3000 ROCKEFELLER AVE FL 2, MS 605
EVERETT, WA 98201-4046
patep: 7/2] [6 at Lynnwood, WA
Presented by:
PATENAUDE & FELIX, A.P.C.

mM NN NY YY
QR & BF BN Ss Ss

 

( ron Py a all. " F
ad wall - MATTHEW CHEUNG, WSBA #43067
i 19401 40th Avenue West, Suite 280
Lynnwood, WA 98036
-1-Tel: (425) 361-1662

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~I

 

 

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NOTICE OF INTENT TO APPLY FOR ORDER OF DEFAULT

PATENAUDE & FELIX, A.P.C,
19401 40th Avenue West, Suite 2800, Lynnwood, WA 98036

Tel: (425) 361-1662 Toll Free: (800) 832-7675
WA_68A Ntc Intent App Ordr Defit P&F File No. 13-33591

 
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EXHIBIT 6

 
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IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
FOR SNOHOMISH COUNTY
NATIONAL COLLEGIATE STUDENT Case No.: 16-2-15162-31
SrALUTORY TRusn S DELAWARE MOTION & DECLARATION FOR
(8) __| DEFAULT AND JUDGMENT
Plaintiff,
vs.
ESTHER HOFFMAN
Defendant. |

 

I. MOTION

The plaintiff, by and through its attomeys, Patenaude & Felix, A.P.C., respectfully moves
the Court for an Order of Default and Judgment against the defendant, ESTHER HOFFMAN,
in the principal sum of $8,994.66, together with costs, as requested in the judgment.

This Motion is based on the affidavits or declarations in support of entry of judgment
submitted herewith and the subjoined declaration of counsel.

Hf. DECLARATION

The undersigned declares under penalty of perjury under the laws of the State of
Washington that the following is true and correct:

1, I am the attorney of record for the plaintiff herein. I base this declaration on my

review of the file maintained by this law firm with regard to this matter.

 

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MOTION & DECLARATION FOR DEFAULT JUDGMENT
PATENAUDE & FELIX, A,P.C.
19401 40th Avenue West, Suite 280, Lynnwood, WA 98036
Tel: (425) 361-1662 Toll Free: (800) 832-7675

WA_90 Mtn and Dec DJ P&F File No. 13-33591

 

 
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1 ‘ 2. That on 12/28/2013, in Snohomish County, Washington, the defendant, ESTHER
9|| HOFFMAN, was served with a Summons and Complaint in the above referenced action. The
3)| Affidavit of such service is filed herein. More than 20 days have elapsed since the date of _
4 service. |
5 3. The defendants have failed to serve an appearance/answer or otherwise defend, in
accordance with CR55 within the time permitted by law.
° 4, + Venue is appropriate under R.C.W, 4.28, because Snohomish County is the county
7 in which the defendant resides. a . .
. 8 5. The defendant is not a person in the Military Service of the United States, as
‘| defined in the Soldier's and Sailor's Civil Relief Act of 1940 as amended by the The Service
10}} member's Civil Relief Act of 2003. The declatant!s staffhas checked the U.S. Department of
11)! Defense Manpower Date Center, and the report provided and attached states that the
12|| Department of Defense does not possess any information indicating the defendant is on Military’
13]| Duty. Attached as an addendum is the information that the above statement if based upon. The
14 declarant is unable to determine whether the defendant is a dependent of a service member.
15 el declare under penalty of perjury of the laws of the State of Washington that the
foregoing is true and correct. |
16 DATED: huly 06, 2016, at Lynnwood, WA.
Presented by:
19 PATENAUDE & FELIX, A.P.C.
29 Lg
21 MATTHEW CHEUNG, WSBA #43067
29 Attorney for Plaintiff
Patenaude & Felix, A.P.C.
23 19401 40th Avenue West, Suite 280
Lynnwood, WA 98036
24) (425) 361-1662
25
26
27
28

 

 

 

-2
MOTION & DECLARATION FOR DEFAULT JUDGMENT

PATENAUDE & FELIX, A.B.C.
19401 40th Avenue West, Suite 280, Lynnwood, WA 98036
Tel: (425) 361-1662 Toll Free: (800) 832-7675

WA_90 Min and Dec DJ P&F File No. 13-33591

 
Case 2:18-cv-01132-TSZ Document 16-1 Filed 09/04/18 Page 42 of 54

EXHIBIT 7

 
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Ex parte

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~ Case 2:18-cv-01132-TSZ Document 16-1 Filed 09/04/18 Page 43 of 54

 

 

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“e-2-1i62-9]
» DFG .
* Detout Judgment ; 2016 AUG 29 AM 10: 48
{ ss SONYA KRASKI
UNI BRIS
ae  SNOHOMISH CO. WASH
IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
FOR SNOHOMISH COUNTY
NATIONAL COLLEGIATE STUDENT Case No.: 16-2-15162-31
LOAN TRUST 2004/4 DELAWARE | opm OF DEFAULT AND
8) __ ee} DEFAULT JUDGMENT
Plaintiff,
VS. (CLERK'S ACTION REQUIRED)
ESTHER HOFFMAN
Defendant. |
I, JUDGMENT SUMMARY
Judgment Creditor: NATIONAL COLLEGIATE STUDENT LOAN
TRUST 2004-2, A DELAWARE STATUTORY
TRUST(S) .
Attorney for Judgment Creditor: MATTHEW CHEUNG;
: PATENAUDE & FELIX, A.P.C.
Judgment Debtor: ESTHER HOFFMAN
Principal Amount: $8,161.00
Interest to Date of Judgment: $833.66
Costs: $337.50
Principal Total: $9,332.16 ©
Attorney's Fee: $0.00
Less: Credit of $1,928.25
TOTAL JUDGMENT: $7,403.91
For Post Judgment interest to run at the rate of 12% per annum from the date of judgment.
-1- PNT AN TLR
Uh
ORDER OF DEFAULT AND DEFAULT JUDGMENT w ted Nou U vaeal

PATENAUDE & FELIX, A.P.C,
19401 40th Avenue West, Suite 280, Lynnwood, WA 98036 -
Tel: (425) 361-1662 Toll Free: (800) 832-7675

WA_91 Ord of Def Jg P&F File No, 13-3359

 

 

 
Case 2:18-cv-01132-TSZ Document 16-1 Filed 09/04/18 Page 44 of 54

 

 

    

 

 
 

   

 

ety ILORDER AND JUDGMENT
ait. The plaintiffs motion for an Order of Default and Default Judgment against the above
3|| named defendant came before the undersigned judge/court commissioner of this Court. The _
‘4 Court, having found that: (1) the defendant was duly served with a Summons and Complaint
5 and has failed to appear, answer, or otherwise defend within the time provided by law; (2) finds
é that the venue is proper; and (3) the defendant is justly indebted to the plaintiff, as evidence by
the proof presented herewith, now, therefore, it is hereby ORDERED, ADJUDGED, AND.
My. DECREED that the defendant, ESTHER HOFFMAN, is hereby in default.
8} IT IS FURTHER ORDERED, ADJUDGED AND DECREED that the plaintiff shall have
9 judgment against the defendant, ESTHER HOFFMAN, for the principal amount of $8,161.00,
10|| together with the plaintiff's costs of $337.50 and interest in the amount of $833.66, and less
11}| ‘credits of 1,928.25, for a total Judgment of $7,403.91, and said Judgment shall bear interest at
12|| the highest legal rate.
13]) “(AUG 2 4 2016
14 ENTERED this day of , 20 .
15 7
Low. g, udtul
16 gGE/COURT COMMISSIONER
i Presented by:
18
19 PATENAUDE & FELIX, A.P.C.
20 LL
23|, MATTHEW CHEUNG, WSBA #43067
|| Attorney for Plaintiff
22|| 19401 40th Avenue West, Suite 280
Lynnwood, WA 98036
23]| Tel: (425) 361-1662
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25
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2.
ORDER OF DEFAULT AND DEFAULT JUDGMENT

PATENAUDE & FELIX, A.P.C.
19401 40th Avenue West, Suite 280, Lynnwood, WA 98036
Tel: (425) 361-1662 Toll Free: (800) 832-7675

WA_91 Ord of Def Jg P&F File No, 13-33591

 

 

 
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EXHIBIT 8

 
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COUNTY CLERK
CNHOMISH CO. WASH -

SUPERIOR COURT OF THE STATE OF WASHINGTON
IN AND FOR SNOHOMISH COUNTY

 

 

National Collegiate Student Loan Trust, Case No.; 16-2-15162-31
Plaintiff,
vs NOTICE OF APPEARANCE OF COUNSEL
. *
Esther Hoffinan
Defendant
TO: CLERK OF THE COURT;

AND TO: Attorneys. for National Collegiate Student Loan Trust

YOU AND EACH OF YOU will please take notice that Sam Leonard of Leonard Law,
hereby appears in the above-entitled action as counsel for the Defendant Esther Hoffman and
requests that all further papers and pleadings herein be served upon her at the following address:

Samuel Leonard

‘Leonard Law

801 2nd Avenue, Suite 1410

Seattle; WA 98104

The undersigned requests a copy of the Case Management Schedule, and that any unfiled
pleadings be filed, and that the undersigned be notified of the cause number for this case if not

on the initial pleadings,

NOTICE OF APPEARANCE - ] Leonard Law
801 2nd Avenue, Suite 1410
Seattle, WA 98104
Ph. (206) 486-1176
Fax (206) 458-6028

 

 

 

 
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Case 2:18-cv-01132-TSZ Document 16-1 Filed 09/04/18 Page 47 of 54

DATED this 17th of January 2017.

NOTICE OF APPEARANCE - 2

Ze eZ)

Sam Leonard WSBA #46498
Attomey for Defendant

Leonard Law
801 2nd Avenue, Suite 1410
Seattle, WA 98104
Ph. (206) 486-1176
Fax (206) 458-6028

 

 

 
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Case 2:18-cv-01132-TSZ Document 16-1 Filed 09/04/18 Page 48 of 54

CERTIFICATE OF SERVICE

 

I, Sam Leonard, hereby certify that on the date set forth below I caused to be served true

and correct copies of the foregoing to the parties listed below in the manner indicated:

 

 

 

 

 

 

 

 

 

Name and Address of Party: Method of Service:
Legal Messenger
Attorney Mathew Cheung :
-Patenaude and Felix, APC X | US Mail
19401 40th Avenue West, Suite 280 - Facsimile
Lynwood, WA 98036
' Matthew. Cheung@pandfus X | Email
, Hand Delivery

 

 

 

 

 

 

DATED this 17th of January, 2017.

NOTICE OF APPEARANCE -3

 

 

a

- Sam Leonard WSBA #46498
Attorney for Defendant

Leonard Law
801 2nd Avenue, Suite 1410
: Seattle, WA 98104
Ph. (206) 486-1176
Fax (206) 458-6028

 

 

 

 
Case 2:18-cv-01132-TSZ Document 16-1 Filed 09/04/18 Page 49 of 54

EXHIBIT 9

 
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8/21/2018 Washington Courts - Search Case Records

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Courts Home | Search Case Records

   
 

   
     

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Superior Court Case Summary About Dockets

About Dockets

Court: King Co Superior Ct
You are viewing the case docket

Case Number: 17-2-10605-4

or case summary. Each Court

 

 

Sub Docket Date Docket Code Docket Description Misc Info level uses different terminology
, for this information, but for all
1 04-24-2017 COMPLAINT Complaint court levels, It Is a Ist of
2 04-24-2017 SET CASE SCHEDULE Set Case Schedule 04-23- - actlvitles or documents related
JDGO026 Judge David S. Keenan 2018ST to the case. District and
Dept 26 municipal court dockets tend to
3 04-24-2017 CASE INFORMATION COVER Case Information Cover Include many case detalls, while
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4 04-24-2017 SUMMONS S and orders related to the case.
~24- ummons
5 04-25-2017 AFFIDAVIT/DCLR/CERT OF Affidavit/dclr/cert Of If you are viewing a district
SERVICE Service municipal, or appellate court
6 04-25-2017 COST BILL Cost Bill docket, you may be able to see
. future court appearances or
7 04-25-2017 MOTION FOR DEFAULT Motion For Default calendar dates if there are any.
JUDGMENT Judgment /pla Since superior courts generally
8 04-25-2017 DEFAULT JUDGMENT Default Judgment calendar thelr caseloads on local
9 07-07-2017 AFFIDAVIT FOR GARNISHMENT Affidavit For Garnishment display superior cou fool cannot
10 07-13-2017 . NOTICE OF APPEARANCE Notice Of Appearance/def calendaring information.
il 08-22-2017 ANSWER TO WRIT OF Answer To Writ Of '
GARNISHMENT Garnishment Directions
12. 09-07-2017 AFFIDAVIT FOR GARNISHMENT Affidavit For Garnishment King Co Superior Ct
13 10-19-2017 MOTION FOR ORDER TO SHOW Motion For Order To Show 516 3rd Ave, Rm C-203
CAUSE Cause/def Seattle, WA 98104-2361
Map & Diractions
14 10-19-2017 MOTION FOR DEFAULT Motion For Default/def 206-477-1400[Phone]
15 10-19-2017 DECLARATION Declaration Of Sarah 206-296-0986[Fax]
Douglass gal Office Email]
16 10-19-2017 DECLARATION Declaration Of Keith Visit Website
Douglass
17 10-19-2017 DECLARATION Declaration Of Joseph Wilde .
. Disclaimer
18 10-19-2017 DECLARATION Declaration Of Amanda
Martin
19 10-19-2017 ORDER TO SHOW CAUSE Order To Show Cause /set 11-03- What is this website? It |s a
Aside Jdgt 2017 search engine of cases filed in
20 10-20-2017 NOTICE OF HEARING Notice Of Hearing 11-03- the municipal, district, superior,
ACTION Set Aside Default & 20171T and appellate courts of the state
Judgment of Washington. The search
uag results can point you to the
20A 10-20-2017 ANSWER TO WRIT OF Answer To Writ Of official or complete court record,
GARNISHMENT Garnishment
21 10-23-2017 AFFIDAVIT OF MAILING Affidavit Of Mailing
22 11-01-2017 NOTE FOR MOTION DOCKET- Note For Motion Docket-late 11-02- completa court recor 4
LATE FILING Filing 2017 You can contact the court in
23 11-01-2017. DECLARATION Declaration Of Marco Ruisla which the case was filed to view
. the court record or to order
24 11-01-2017 RESPONSE Response /pla copies of court records.
25 11-01-2017 MOTION TO CONTINUE Motion To Continue /pla
26 11-01-2017 MOTION Motion /pla
27 11-01-2017 MOTION Motion /pla How can I contact the court?

https://dw. courts.wa.gov/index.cim?fa=home.casesummary&crt_It_nu=S 17&casenumber=17-2-1 0605-4 &searchtype=sName&token=5443EC8C7AOD...

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Case 2:18-cv-01132-TSZ Document 16-1 Filed 09/04/18

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03-20-2018
03-20-2018

NOTE FOR MOTION DOCKET-
LATE FILING

RESPONSE
RESPONSE

AFFIDAVIT/DCLR/CERT OF
SERVICE

DECLARATION

DECLARATION
DECLARATION

MOTION HEARING
JDG0034

AUDIO LOG
ORDER VACATING JUDGMENT

MOTION TO DISMISS
MOTION TO DISMISS

ORDER OF DISMISSAL W/OUT
PREJUDICE

Washington Courts - Search Case Records

Note For Motion Docket-late 11-02-
Filing 2017
Response /def

Response /def

Affidavit/dclr/cert Of
Service

Declaration Of Sarah K
Douglass

Declaration Of Joseph Wilde

Declaration Of Keith
Douglass

Motion Hearing
Judge Aaron C, Allred, Dept
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Audio Log Dr 4b

Order Vacating Judgment
/reinstate
Case

Motion To Dismiss /pla
Motion To Dismiss /pla

Order Of Dismissal W/out
Prejudice

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with information on how to
contact every court in the state.

Can I find the outcome of a
case on this website?

No. You must consult the local or
appeals court record.

How do I verify the
information contained In the
search results?

You must consult the court
record to verify all information.

Can I use the search results
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criminal record?

No. The Washington State Patrol
(WSP) maintains state criminal
history record information. Click
here to order criminal history
information,

Where does the information
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Clerks at the municipal, district,
superlor, and appellate courts
across the state enter
information on the cases filed in
their courts. The search engine
will update approximately
twenty-four hours from the time
the clerks enter the information,
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https://dw.courts.wa.gov/index.cim?fa=home.casesummary&crt_itl_nu=S17 &casenumber=17-2-10605-4&searchtype=sName&token=5443EC8C7A0D... 2/2

 
Case 2:18-cv-01132-TSZ Document 16-1 Filed 09/04/18 Page 52 of 54

EXHIBIT 10

 
Case 2:18-cv-01132-TSZ Document 16-1 Filed 09/04/18 Page 53 of 54

 

 

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1 17 APR 24 PM 1:35
2 KING COUNTY
SUPERIOR COURT CLERK
3 E-FILED
CASE NUMBER: 17-2-10605-4 KNT|
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9 IN THE SUPERIOR COURT OF STATE OF WASHINGTON
10 FOR KING COUNTY
1 NATIONAL COLLEGIATE STUDENT No,
LOAN TRUST 2006-3, A DELAWARE
1y|| STATUTORY TRUST(S) COMPLAINT FOR MONIES DUE
Plaintiff,
13 vs.
14)) SARAH K DOUGLASS
Defendant,
15
16 ae
The plaintiff alleges as follow:
uM 1. The plaintiff NATIONAL COLLEGIATE STUDENT LOAN TRUST 2006-3, A
18 DELAWARE STATUTORY TRUST(S) is duly authorized to bring this action in the State
19 of Washington.
20 _ 2. The defendant is believed to be a married individual and as such incurred the
a1 below-referenced separate and community obligation.
22 3. The defendant is a resident of King County, Washington.
**||__..4.....The defendant entered into.a loan. agreement with. the plaintiff or the plaintiff's |.
24)\ sssignor BANK OF AMERICA, NA.
25 5. At all times relevant to this action, the plaintiff had in effect a loan agreernent on
*6 which the defendant was and continues to be the primary obligor on that loan.
2M 7]
28
«1-
COMPLAINT FOR MONIES DUE PATENAUDE & FELIX, APC. -
P&F FILE# 15-40570 19401 40th Avenue West, Suite 280, Lynnwood, WA 98036

 

 

 

WA_85 Complaint Tel: (425) 361-1662 Toll Free; (800) 832-7675

 
Case 2:18-cv-01132-TSZ Document 16-1 Filed 09/04/18 Page 54 of 54

6. As aresult of the terms of the agreement, the defendant is indebted to the plaintiff

 

 

 

 

2|| on said loan in the amount of $1,931.11.
3 7. Although demand has repeatedly been made upon the defendant for the unpaid
4|| balance of $1,931.11 on said loan, the defendant is now in default under the terms and
5|| conditions of the agreement.
6 8. The plaintiffs attorneys are debt collectors. This is an attempt to collect a debt and
7\| any information obtained will be used for that purpose.
8 WHEREFORE, the plaintiff prays for judgment against the defendant as follows:
9 1. For the principal sum of $1,931.11. .
10 2. — Its costs and disbursements incurred in this action.
11 3. Post judgment interest to be determined at judgment.
12 4, Such other further and equitable relief as the Court finds just and proper.
13 DATED: February 09, 2017
4 PATENAUDE & FELT, A.P.C,
15
16 Le
MATTHEW CHEUNG, WSBA #43067
17 Attorney for Plaintiff
18 19401 40th Avenue West, Suite 280
Lynnwood, WA 98036
19 Tel: (425) 361-1662
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COMPLAINT FOR MONIES DUE PATENAUDE & FELIX, A.P.C.

P&E FILB# 15-4070 19401 40th Avenue West, Suite 280, Lynnwood, WA 98036
WA_85 Complaint Tel: (425) 361-1662 Toll Free: (800) 832-7675

 

 
